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Et Paso County - County Court at Law 6 Filed 10/5/2020 8:59 AM
Norma Favela Barceleau
District Clerk
El Paso County
2020DCV3210
CAUSE NO.
REBECCA PAEZ, § IN THE DISTRICT COURT
§
Plaintiff, §
§
vs. § JUDICIAL DISTRICT
§
WAL-MART STORES TEXAS, LLC, §
§
Defendant. § EL PASO COUNTY, TEXAS

 

PLAINTIFF'S ORIGINAL PETITION AND
FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS

 

TO THE HONORABLE JUDGE OF SAID COURT:

Plaintiff, REBECCA PAEZ, (hereinafter “Plaintiff’), complaining of and about WAL-
MART STORES TEXAS, LLC (hereinafter “Defendant’”), and for cause of action shows unto
the Court the following:

DISCOVERY CONTROL PLAN LEVEL
1. Plaintiff intends that discovery be conducted under Discovery Level 3.
PARTIES AND SERVICE

2. Plaintiff is an Individual whose address is c/o The Cain Law Firm, P.C., 111 S.
Houston Street, Granbury, Hood County, Texas 76048.

Bt The last three numbers of Plaintiff's social security number are 591.

4, Defendant, WAL-MART STORES TEXAS, LLC is a Delaware Corporation
whose registered agent for service of legal process is CT Corporation System, 1999 Bryan Street,

Suite 900, Dallas, Texas 75201. Service of suit to Defendant can be effected via certified mail,

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE 1

EXHIBIT

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return receipt requested, upon it’s registered agent CT Corporation System, 1999 Bryan Street,
Ste. 900, Dallas, TX 75201.
JURISDICTION AND VENUE

5. Plaintiff secks damages within the jurisdictional limits of this court of more than
$1,000,000 at the time of filing this suit, which, with the passage of time may change.

6. This court has jurisdiction over the parties because Defendant is a corporation
conducting business in Texas and likewise is registered with the Texas Secretary of State.

7. Venue in El Paso County is proper in this cause under Section 15.002(a)(1) of the
Texas Civil Practice and Remedies Code because all or a substantial part of the events or omissions
giving rise to this lawsuit occurred in this county.

FACTS

8. On or about August 31, 2019, Plaintiff went shopping as a customer at the
Neighborhood Wal-Mart store located at 10301 Alameda Avenue, Socorro, El Paso County,
Texas.

9. As Plaintiff was leaving the Wal-Mart store, she tripped on what appeared to be a

piece of rebar in the walkway. Plaintiff fell causing injury to her back, neck, right leg, and body

 

generally.
10. Defendant failed to make safe and/or properly warn Plaintiff of the unsafe walkway.
DEFENDANT’S LIABILITY
11. At all times mentioned herein, Defendant owned the store located at 10301

Alameda Avenue, Socorro, El Paso County, Texas.

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE 2
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12.  Atall times mentioned herein, Defendant had such control over the premises and
that Defendant owed certain duties to Plaintiff, the breach of which proximately caused the injuries

set forth herein.

13. The Defendant, its agents, servants, and employees negligently permitted the
dangerous condition that forms the basis of this incident, negligently or willfully allowed such
condition to continue and negligently or willfully failed to warn Plaintiff of the unsafe walkway.
This hazard despite the fact that Defendant and or its agents knew or should have known of the
existence of the aforementioned dangerous condition and that there was likelihood of a person

being injured as occurred to Plaintiff.

14. Furthermore, Plaintiff would show that the hazardous walkway had continued for
such period that, had Defendant or its agents exercised ordinary care in the maintenance of the
area, it would have properly warned its customers, or simply corrected or been made safe by such

persons.

15. At all times pertinent herein, Defendant and any of its agents, who were acting in

the scope of their employment, were guilty of negligent conduct toward the Plaintiff in:

A. Failing to maintain the store premises in a reasonably safe condition;

Failing to give adequate and understandable warnings to Plaintiff of the
hazardous walk way;

C. Failing to give adequate warning to Plaintiff that the walk way was unsafe;

D. Failing to remedy the dangerous condition that caused the fall and damages;
and

I. Failing to maintain the dangerous condition in question in a reasonably safe

condition or manner.

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE3
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PLAINTIFF’S DAMAGES

16. Asa direct and proximate result of the occurrence made the basis of this lawsuit,

Plaintiff was caused to suffer injuries and damages, set out as follows:

A.

B.

Reasonable medical care in the past;

Reasonable and necessary medical care and expenses which will in all
reasonable probability be incurred in the future;

Physical pain and suffering in the past;

Physical pain and suffering which, in all reasonable probability, will be
suffered in the future;

Physical impairment in the past;

Physical impairment which, in all reasonable probability, will be suffered
in the future;

Mental anguish in the past; and

Mental anguish which, in all reasonable probability, will be suffered in the
future;

REQUESTS FOR DISCLOSURE

17. Pursuant to Texas Rule of Civil Procedure 194.2, Plaintiff requests that Defendant

disclose, within 50 days of the service of this request, the information or material described in

Rule 194.2.

NOTICE PURSUANT TO TRCP 193.7

17. Pursuant to Texas Rule of Civil Procedure 193.7, Plaintiff gives notice to Defendant

that any and all documents produced during discovery by Defendant may be used against the

Defendant, if any, at any pre-trial proceeding and/or trial of this matter without the necessity of

authenticating the document.

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE 4
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RESPONDEAT SUPERIOR

18. Each act of Defendant’s employees set out herein was in the course and scope of

employment at the time of the actions complained of herein above.
RULE 28 DEMAND

19. Pursuant to Rule 28 of the Texas Rules of Civil Procedure, if some other
individual(s), partnership(s), corporation(s), association(s), or business entity(s) of any type are
owned and/or operated under the name or names of the Defendant, Plaintiff hereby demands that
the appropriate entity be substituted.

JURY DEMAND
20. Plaintiff demands a trial by jury.
PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the
Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,
judgment be entered for the Plaintiff against Defendant for damages in an amount within the
jurisdictional limits of the Court; together with pre-judgment interest (from the date of injury
through the date of judgment) at the maximum rate allowed by law; post-judgment interest at the
legal rate, costs of court; and such other and further relief to which the Plaintiff may be entitled at

law or in equity.

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGES
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Respectfully submitted,

/s/ Peter J. Rutter

PETER J. RUTTER

Texas Bar No. 00791586

E-Mail: pete(@cainfirm.com
E-Service: eservice(@cainfirm.com

 

THE CAIN LAW FIRM, P.C.
111 S. Houston Street
Granbury, Texas 76048
Telephone: (817) 573-4300
Facsimile: (817) 573-4848

ATTORNEY FOR PLAINTIFF

TO DEFENDANT: This is a legal document which is extremely time sensitive.
You should IMMEDIATELY forward a copy of this document
to your insurance agent or representative to secure coverage.

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE 6
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DEFINITIONS AND INSTRUCTIONS

1. "DOCUMENTS". When the word "document(s)" or "documentation" is
used in these discovery requests, it means any written, typed, printed, graphic or
photographic matter, or sound reproductions however produced or reproduced, including
copies of computer or data processing input or output in whatever form, including
electronic and magnetic data. Without limiting the generality of the foregoing, all letters,
telegrams, cables, wires, notes, memoranda, accounts, ledgers, books, statements, draft s,
transcripts, agreements, contracts, policies, minutes, records, diaries, journals, logs,
manuals, calendars, governmental forms, computer or data processing input or output,
maps, plats, moving or still pictures, diagrams, plans, drawing s, specifications,
measurements, microfilm, written statements or reports, recordings, e-mail reduced to
hard copy, samples or other physical objects of whatever nature now or formerly in the
possession, custody or control of the party to whom these Discovery Requests are directed.

A. The terms "writing" or "written" are intended to include, but not
necessarily be limited to the following: hand writing, typewriting,
computer printouts, printing, photographing, e-mail reduced to hard
copy, and every other means of recording upon any tangible thing or
any form of communication , including letters, words, pictures, sounds
or symbols or combinations thereof; and it further includes any oral
communications later reduced to writing or confirmed by a letter.

B. Whenever the identification of documents or objects is called for in
these discovery requests, the party to whom these discovery requests
are directed shall provide the date of the document, model and serial
number of the object, if any, the brand of the object, name of
manufacturer and date of manufacture. In lieu of identification as stated
above, Defendant may produce for inspection and copying such
documents or objects and/or manuals identifying such objects.

C. With regard to documents requested to be produced, please produce
the original of said documents for inspection and copying or provide

complete and clear legible copies of same with immediate opportunity
to review the originals.

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE7
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D. If the party to whom these requests are directed contends that the
content of a document is protected from disclosure by virtue of a
privilege, or if the party objects to such discovery on any other grounds,
it is intended and requested that the party shall, nevertheless, with
respect to such document or answer requested, provide a description
thereof, including:

(1) Astatement of the privilege or objection whereby they
contend that such discovery is protected from disclosure;

(2) Each and every fact upon which they rely to support such
claim of privilege or objection;

(3) The type of document (e.g., letter, memorandum, telegraph,
telefax, note);

(4) The date of each such document or writing;
(5) The author of each such document or writing;

(6) | Thepersonorpersons to whom each such writing or document
was directed;

(7) The person or persons to whom each such writing or
document was supplied; and

(8) | The general subject matter of each such document or writing.
2. "IDENTITY" "IDENTIFY" or "IDENTIFICATION":

A. When used in reference to a natural person, "identity" "identify" or
"identification" means to state his or her fullname and present or last
known address, present employer (if employed by the party to whom
this Discovery is directed, then identify the particular organization for
whom he or she worked), present employer, specifying in each
instance the title or position and the dates so held.

B. When used with respect to a document, "identity", "identify" or
"identification" means to state the date, subject and substance, author,
all recipients, type of document (e.g., letter, telegraph, memorandum,
computer printout, sound reproduction, chart, etc.), its present
location and the identity of its present custodian. This shall include
documents with respect to which a privilege is or may be claimed, if
such document was, but no longer is, in your possession or subject to
your control, state whether it is (1) missing or lost; (2) has been
destroyed; (3) has been transferred voluntarily to others; or (4) has

 

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been otherwise disposed of. In each such instance explain the
circumstances surrounding an authorization for such disposition.

C. When used with respect to an occasion, event, meeting or
conversation, "identity", "identify" or "identification" means to state the
date, place, duration and persons attending or participating.

3. "PERSON" or "PERSONS" includes natural persons, including agents,
servants and/or employees of this Defendant, firms, partnerships, associations, joint
ventures, corporation and any other form of business organization or arrangement, as well
as governmental or quasi-governmental agencies. If other than a natural person, include all
natural persons associated withsuch entity.

4. “WALMART” shall mean and refer to Defendant Wal-Mart Stores Texas, LLC.

5. "ACCIDENT," "THE INCIDENT" or "THE OCCURRENCE IN
QUESTION" means the incident made the basis of this lawsuit that occurred on or about
August 31, 2019 as more fully set out in Plaintiffs Original Petition.

6. "THIS SUIT," "THIS LAWSUIT," or ''THE LAWSUIT" shall mean
the lawsuit referenced in the above-entitled and numbered cause.

In the event that your answer to any discovery request is "not applicable" or any similar
phrase or answer, please explain in detail why that discovery request is not applicable.

In the event that your answer to any discovery request is "don't know" or "unknown"
or any similar phrase or answer, please explain in detail all efforts made by you or your
attorneys or representatives to obtain the response to that discovery request.

When a discovery request asks that you or your attorney provide information
concerning what a witness may testify about, that request is int ended to elicit a summary
of any and all information that any witness may have provided to yousegardless of whether

they may sotestify at trial.

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE9
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These discovery requests should be deemed continuing in nature and you are requested
to update your responses periodically to reflect any information obtained after the discovery
request s are initially responded to, to include all information up to, and including, the date
of trial in this action, in accordance with the Texas Rules of Civil Procedure.

Unless otherwise stated, answers to these discovery requests shall be given for the time
period ending with the date answers or responses hereto are served. To the extent that such
answers or responses may be enlarged, diminished or otherwise modified by information
acquired or discovered by you subsequent to service of initial answers or responses, you are
directed to promptly thereafter serve supplemental answers or responses reflecting such
information.

You are further notified that your answers and responses to these discovery requests
may be offered in evidence at the trial of this case. You are further advised that your answers
or responses to these requests must be supplemented (not less than 30 days prior to the
beginning of trial) when you obtain information upon the basis of which:

(1) You know an answer or response was incorrect when made or
incomplete when made;

(2) You know that the answer or response, though correct when made, is no
longer true and complete, andthe circumstances are such that to fail to
amend your answers or responses would be, in substance, misleading; or

(3) If the party expects to call an expert witness whose identity and subject
matter of such witness testimony has not been previously disclosed in
response to an appropriate discovery request, such answer must be

supplemented and/or amended to include the name, address and

 

PLAINTIFF’S ORIGINAL PETITION AND FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS PAGE 10
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telephone number of the expert witness and the substance of the expert
witness' expected testimony. This should be done as soon as practical,
but in no event less than thirty (30) days prior to the beginning of trial
except for good cause granted by leave of Court.

Document Authentication. We will assume that each document you produce is
authentic. We hereby notify you that we will use each document you produce in pretrial
proceedings or at trial. If you contend a document you produce to us is not authenticated,
within 10 days after you produce the document, you must serve us with your specific
objection to the authenticity of the document. Your objection must be either on the record
or in writing and must have a good faith factual and legal basis. Your objection to the
authenticity of only part of a document does not affect the authenticity of the remainder.
If you make an objection, we hereby request a reasonable opportunity to establish its

authenticity and to inspect the original document. TRCP 193.7 and 196.3(b).

 

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PLAINTIFF’S FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS
TO DEFENDANT, WAL-MART STORES TEXAS, LLC

All reports/documents/notes/electronic messages (emails, faxes, texts, inter-company
communications) that will identify and/or state the name, address and telephone number of
all persons/entities/companies that were in any way responsible for and/or had control over
the alleged dangerous condition at the time of the subject matter occurrence in question,
August 31, 2019.

All contracts, work orders, purchase orders, work authorizations of Walmart
reports/documents/notes/electronic messages (emails, faxes, texts, inter-company
communications) that will identify and/or state the name, address and telephone number of
all persons/entities/companies that were in any way responsible for and/or had control over
the alleged dangerous condition (loose, exposed wires in the parking lot) at the time of the
subject matter occurrence in question on August 31, 2019.

Any and all photographs, slides, motion pictures, videotapes and other films that captured
or were produced as result of the incident made the basis of this suit.

All records of any type indicating that there were any structural or cosmetic problems or
repairs concerning the area in question during the ten years preceding the incident made
the basis of this suit.

Any and all accident or incident reports prepared in connection with the incident in
question that occurred on August 31, 2019.

All exhibits Defendant will introduce at trial.

All records obtained from claims, reporting services, including but not limited to the
Southwest Index Bureau (SWIB) and Choicepoint Consumer Center (CLUE), regarding
the Plaintiff.

Produce copies of any and all documentation of qualifications (for example: initial
application, employment file, training classes, accreditations as a manager and experience)
to be a manager for the most senior manager on duty on August 31, 2019.

The Defendant’s claim file(s) relative to the claim made the basis of this suit, prepared and
compiled up to the date this suit was filed in this Court, including but not limited to all
notes, records, entries, documents, memos, correspondence, photographs, videotapes, and
written information contained therein.

All documents which Defendant may use under Texas Rules of Evidence to impeach
testimony given by Plaintiff or other witnesses in this case.

 

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All documents reflecting medical reviews or audits conducted on Plaintiff's medical
treatment or expenses, including correspondence between Defendant and/or his insurance
company and counsel and medical review personnel.

All accident reconstruction reports prepared by or for Defendant in connection with the
incident made the basis of this suit.

Documentation of any payments made to Plaintiff in connection with the incident made
the basis of this suit.

For each consulting expert whose work product or opinions have been reviewed or relied
upon by a testifying expert in this case, please produce all documents reflecting the expert’s
name, address and telephone number and the general substance of the expert’s mental
impressions and opinions and a brief summary of the basis for them, the expert’s current
resume and bibliography, and all documents, tangible things, reports, models, or data
compilations that have been provided to, reviewed by, or prepared for the consulting expert
in connection with this case.

Documents sufficient to identify each claim made against Defendant in the last five years
that are similar to the claims made by Plaintiff (for example: where an individual is alleged
to have been injured as a result of Defendant’s negligence).

Copies of all procedures or manuals used in evaluation of Plaintiff's claim used by
Defendant, his employees, agents, or representatives, made the basis of this lawsuit.

Produce a full and complete certified copy of all liability insurance policies issued by any
insurance company in which Defendant is a named insured and/or a covered person/entity
or company that were in full force at the date and/or the time of the occurrence in question.

Produce a full and complete certified declaration page for all liability insurance policies
issued by any insurance company in which Defendant is a named insured and/or a covered
person/entity or company that were in full force at the date and/or time of the occurrence
in question.

Produce a full and complete copy of all applications for all liability insurance policies
issued by any insurance company in which Defendant is a named insured and/or a covered
person/entity or company that were in full force at the date and/or the time of the occurrence
in question.

Produce a full and complete certified copy of all umbrella and/or excess and/or secondary
liability insurance policies issued by any insurance company in which Defendant is a
named insured and/or a covered person/entity or company that were in full force at the date
and/or the time of the occurrence in question.

Produce a full and complete certified declaration page for all umbrella and/or excess and/or
secondary liability insurance policies issued by any insurance company in which Defendant

 

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is a named insured and/or a covered person/entity or company that were in full force at the
date and/or the time of the occurrence in question.

Produce a full and complete copy of all applications for all umbrella and/or excess and/or
secondary liability insurance policies issued by any insurance company in which Defendant
is a named insured and/or a covered person/entity or company that were in full force at the
date and/or the time of the occurrence in question.

Produce a full and complete certified copy(s) of any and all insurance agreements and/or
policies, including, but not limited to, primary, umbrella, personal umbrella, excess,
secondary policies (and including all endorsements, schedules and amendments) applicable
to the date, incident or claims in question (regardless of whether on a claims made or
occurrence basis) potentially obligating any insurance company(s) to pay a potential
judgment in this case for the claims asserted against Defendant.

In the event the claims upon which the lawsuit is based are being handled by any insurance
carrier under a reservation of rights, please produce a full and complete copy of all
communications to and from the carriers concerning any and all such reservations.

In the event the pertinent policies are aggregate policies and the annual aggregates have
been reduced, please produce a copy of any and all settlement documents and/or
agreements relevant to the payment of such claims that have caused any reduction of such
aggregates.

In the event the pertinent policies are "wasting" policies (for example, the payment by the
insurance carrier of the defense attorney's fees and costs and expenses reduce the available
liability policy limits), please produce a copy of any and all documents, invoices, receipts
and canceled checks relevant to the payment of such defense litigation costs and expenses
that have caused any reduction of such liability policy limits.

Full and complete copies of any and all documents and records concerning the Plaintiff
that were obtained by and/or in the possession of Defendant from any source.

Full and complete copies of any and all medical records and information concerning the
Plaintiff that were obtained by and/or in the possession of Defendant from any source.

Full and complete copies of any and all depositions on written questions including all
exhibits, records and documents and things attached thereto from any person, company,
entity, or source obtained by and/or in the possession of Defendant from any source
concerning any issue or party or witness or potential witness in this case.

Full and complete copies of any and all employment records and documents concerning
the Plaintiff that were obtained by and/or in the possession of Defendant from any source.

Full and complete copies of any and all medical information and/or records and/or
documentation, including but not limited to medical records, medical expenses, x-rays or

 

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any other diagnostic test, employment records, criminal records, social security records,
divorce/family law related records, educational records, unemployment records, disability
records, health insurance records and/or any other insurance records or information,
concerning the Plaintiff that were obtained by and/or in the possession of Defendant
through deposition, deposition on written questions, subpoena, court order, authorization
or any other source.

Produce documents of any investigation, reports and/or memoranda made by or submitted
to you, as a result of the injury which has been made the basis of Plaintiff's lawsuit.

Produce copies of all written documents of Defendant’s policies and procedures that were
in effect at the time of the incident made the basis of this suit.

Produce copies of all documentation, training manuals, policy manuals, employee
guidelines or other documents, maintained by you that relate to Defendant’s care and
maintenance of its walk ways at the time of the incident made the basis of this suit.

Produce copies of all documentation evidencing or reflecting any type of safety audit,
maintenance audit, safety survey, safety assessment or similar type procedures relating to
the Defendant’s care and maintenance of its walk ways at the time of the incident made the
basis of this suit.

Produce a copy of any manual and/or written guidelines relating to the care and
maintenance of its walk ways that were published by any professional or trade
organization.

Produce documentation of any rules, management guidelines, operating guidelines, or
other similar document that purports to show operating procedures for Defendant’s care
and maintenance of its walk ways in effect at the time of the incident made the basis of this
suit.

Produce copies of all documents evidencing or reflecting the person, entity, corporation
and/or partnership, which owns, operates and controlled Defendant at the time of the
incident made the basis of this suit.

Please produce any and all documents that show that you met your own policies,
procedures, rules, regulations, guidelines, protocols, and directives or otherwise ensured
that the subject area where Plaintiff fell was properly inspected, managed, and maintained
on August 31, 2019.

Please produce copies of any and all log books, trip sheets, and any and all other documents
of any kind or by any other name which reflect inspecting, managing, and maintenance of
the area of the subject where Plaintiff fell within one year before the fall of August 31,
2019.

 

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Please produce any employee handbooks, policy or procedure manuals, videotapes, motion
pictures, movies, and materials of any other name that are related to Defendant’s policies
regarding safety, proper training, testing, hiring, retention, interviewing, or anything else
related to the subject area of the premises where Plaintiff was hurt on the date of the subject
fall was safe, with regard to fall prevention.

Please produce all records, documents, correspondences, and memoranda regarding any
changes and/or modifications made to the subject area since the time of the occurrence
described in the complaint.

Please produce any and all manuals, brochures, policies and procedures, correspondence,
notes, memoranda, notices, bulletins, and other documents distributed to defendant’s
employees regarding safety policies and procedures applicable to the subject premises on
August 31, 2019.

Please produce all company manuals, employee handbooks, policy and procedure manuals,
memoranda, booklets, pamphlets, user guides, instructions, operator manuals, video(s) and
other audio and written materials that were being used for training defendant’s employees
regarding fall prevention at the time of the subject occurrence.

Please produce all safety notices, warnings, bulletins, and other similar documents
distributed to personnel of Defendant in which the subject matter is fall prevention and/or
falls.

Please produce any and all studies, articles, memos, and other documents in your
possession, custody, or control on and before August 31, 2019, regarding the risk loss
associated with falls.

Please produce copies of all inspection reports that include the subject area since the date
you opened for business.

 

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THE STATE OF TEXAS

NOTICE TO DEFENDANT: “You have been sued. You may employ an attorney. If you, or your attorney, do not
file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you.”

TO: WAL-MART STORES TEXAS, LLC, which may be served with process by serving its registered agent, CT
CORPORATION SYSTEM at 1999 BRYAN STREET, SUITE 900, DALLAS, TX 75201

Greetings:
You are hereby commanded to appear by filing a written answer to the Plaintiff's Original Petition and First
Requests for Production of Documents at or before ten o'clock A.M. of the Monday next after the expiratan of twenty

days after the date of service of this citation before the Honorable County Court at Law Num Rer iF Pa8o, County,
ey
J Hee.

Texas, at the Court House of said County in El Paso, Texas. a “ 1 2, ) NOE

by At orney ai Law PETER

Said Plaintiffs Original Petition was filed in said court on 5 day of October, 2020
JOHN RUTTER, 111 S HOUSTON STREET, GRANBURY, TX 76048 in this case numbe& Ng off-the

    
  
  
  

   

    

docket of said court, and styled: % cA
REBECCA PAEZ vs. WAL-MART STORES TEXAS, LLC 2
al Petition and

The nature of Plaintiff's demand is fully shown by a true and correct copy of the Plaintiff's origi
First Requests for Production of Documents accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements of law, and the mandates
thereof, and make due return as the law directs.

Issued and given under my hand and seal of said Court at El Paso, Texas, on this the 8 day of October, 2020

Attest. NORMA FAVELA BARCELEAU, District Clerk, El Paso County, Texas.

   
   

CLERK OF THE COURT

NORMA FAVELA BARCELEAU
District Clerk

El Paso County Courthouse

500 East San Antonio Avenue Roo

 

 

 

 

El Paso Texas, 79901 Ad , Deputy
ATTACH ae, JoAnn Acosta
RETURN RECEIPTS
WITH
VE
ADDRESSEE'S SIGNATURE CERTIFICATE OF DELIVERY BY MAIL
Rule 106 (a) (2) the citation shall be served by - | hereby crtify that on this the 8th day of October
mailing to the defendant by Certified Mail Return 2020 at 10:24 AM, | mailed to WAL-MART STORES
receipt requested, a true copy of the citation.
Sec. 17.027 Rules of Civil Practice and TERESA eae] SSEPeRMION ote Ei tae
Remedies Code if not prepared by Clerk of BRYAN STREET, SUITE 900, DALLAS, TX 75201
Court. Defendant(s) by registered mail or certified mail with

delivery restricted to addressee only, return receipt

= requested, a true copy of this citation with a copy of
NAME OF PREPARER TITLE the Plaintiff's Original Petition and First Requests

for Production of Documen tached thereto.

ADDRESS RB
CITY STATE ZIP 7!
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TITLE

 

 

 

 
Case 3:20-cv-00321-DCG Document 1-4 Filed 12/29/20 Page 18 of 24

RETURN OF SERVICE

Delivery was completed on

, delivered to.

 

attached hereto.

as evidence by Domestic Return Receipt PS Form 3811

The described documents were not delivered to the named recipient. The certified mail envelope was returned

undelivered marked

 

This forwarding address was provided:

 

ARTICLE NO. : 7160 1019 9040 0431 8589

SENT TO: WAL-MART STORES TEXAS, LLC, CT By:

CORPORATION SYSTEM, 1999 BRYAN STREET,
SUITE 900, DALLAS, TX 75201

POSTAGE: $0.37

El Paso County, Texas

 

Deputy District Clerk
OR

 

FEE: $2.30
RETURN RECEIPT FEE: $1.75

DATE SENT: 10/08/2020
SENDER’S NAME: Joann Acosta

THIS ENVELOPE CONTAINS: Plaintiff's Original
Petition and First Requests for Production of Documents

By:

Name of Authorized Person

 

VERIFICATION BY AUTHORIZED PERSON

State of Texas
County of El Paso

Before me, a notary public, on this day personally appeared

, Known to me to be the person

whose name is subscribed to the foregoing Return of Service, and being by me first duly sworn, declared, “| am

disinterested party qualified to make an oath of that fact and statements contained in the Return of Service and true and

correct.”

Subscribed and sworn to be on this day
of

 

 

Notary Public, State of
My commission expires:
Case 3:20-cv-00321-DCG Document 1-4 Filed 12/29/20 Page 19 of 24

 

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Domestic Return Reggipt

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E! Paso County - County Court at Law 6 Filed 10/27/2020 9:55 AM
Norma Favela Barceleau

District Clerk

El Paso County

IN THE COUNTY COURT AT LAW NUMBER SIX 2020DCV3210

EL PASO COUNTY, TEXAS

REBECCA PAEZ,
Plaintiff,

Cause No. 2020DCV3210

Vv.

WAL-MART STORES TEXAS, LLC

Nee’ ee Ne ee ee ee Ne

Defendants.
DEFENDANT’S ANSWER TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:
Defendant WALMART STORES TEXAS, LLC files its Answer to Plaintiff's Petition

("Petition"), and in support thereof would respectfully show the Court as follows:

I.
GENERAL DENIAL

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant denies all material
allegations contained in Plaintiffs Petition and demand strict proof thereof as required by law.

Il.
DEFENSES

A. The acts and omissions of certain non-parties to this lawsuit were the sole proximate cause of
the occurrence and any alleged injuries or damages claimed by Plaintiff.

B. To the extent Plaintiff suffered any injuries or damages as described in Plaintiff's Petition,
which Defendant denies, those injuries and damages were proximately caused by the acts or omissions
of persons and/or entities over whom Defendant has no control and for whom Defendant has no
liability.

or Plaintiffs injuries and damages, if any, may have resulted from pre-existing and/or unrelated

condition(s), and thus were not proximately caused by the occurrence made the basis of this lawsuit.
Case 3:20-cv-00321-DCG Document 1-4 Filed 12/29/20 Page 21 of 24

D. Plaintiff's injuries and damages, if any, may have resulted from subsequent events or
conditions that constitute new and intervening causes, which were not proximately caused by
Defendant.
E. Plaintiff's injuries and damages, if any, may have been the result of an unavoidable accident
as that term is defined and recognized by law.
F, The injuries and damages sustained by Plaintiff, if any, can be attributed to several causes and
accordingly should be apportioned among the various causes according to the respective contributions
of such causes to the harm sustained.
G. Defendant pleads Texas Civil Practice and Remedies Code Section 41.0105, which limits
Plaintiff's recovery of medical expenses.
H. Defendant pleads the provisions of the Texas Finance Code, Section 304.1045, which
prohibits the recovery of prejudgment interest on any award of future damages.
I. Plaintiff's recovery for lost earnings, lost earning capacity, or other pecuniary loss, if any, must
be limited to the net loss after reduction for income tax payments or unpaid tax liability pursuant to
federal income tax law pursuant to Tex. Civ. Prac. & Rem. Code Section 18.091 (a).
Il.
AFFIRMATIVE DEFENSES

In the alternative, and without waiving the foregoing, Defendant asserts the following
affirmative defenses:
A. Plaintiff's injuries and damages, if any, may have been proximately caused by Plaintiff's own
negligence, which bars recovery or, in the alternative, reduces it proportionately.
B. To the extent Plaintiff failed to act reasonably to mitigate alleged damages, if any, Defendant
is not responsible for any damages that could have been avoided.

IV.
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JURY DEMAND

Defendant requests trial by jury.
WHEREFORE, PREMISES CONSIDERED, Defendant prays to the Court that it be

allowed to go hence without day and with its costs.

Respectfully submitted,

MOUNCE, GREEN, MYERS,
SAFI, PAXSON & GALATZAN
A Professional Corporation

P. O. Drawer 1977

El] Paso, Texas 79999-1977
Phone: (915) 532-2000

Telefax: (915) 541-1597

enriquez@mgmsg.com

By: /s/ Laura Enriquez
Laura Enriquez
State Bar No. 00795790
Attorneys for Defendants

CERTIFICATE OF SERVICE

In compliance with Texas Rule of Civil Procedure 21a (e), I certify that on this 27" day of
October 2020 a true and correct copy of the foregoing document filed electronically with the clerk of
the court in accordance with Texas Rule of Civil Procedure 21 (f)(1), and served electronically to the
following counsel of record:

Peter Rutter

The Cain Law Firm P.C.
111 S. Houston Street
Granbury Texas 76048
pete(@cainfirm.com

eservice(@cainfirm.com

 

/s/ Laura Enriquez
Laura Enriquez

 
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El Paso County - County Court at Law 6 Filed 11/6/2020 9:03 AM
Norma Favela Barceleau
District Clerk
El Paso County
2020DCV3210

IN THE COUNTY COURT AT LAW NUMBER SIX
EL PASO COUNTY, TEXAS
REBECCA PAEZ,
Plaintiff,
Cause No. 2020DCV3210

Vv.

WAL-MART STORES TEXAS, LLC,

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Defendant.
CERTIFICATE OF WRITTEN DISCOVERY
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, WAL-MART STORES TEXAS, LLC, Defendant in the above-entitled
and numbered cause, and submits its Certificate of Written Discovery regarding the following
written discovery requests:

1. Defendant’s First Set of Interrogatories; and

2. Defendant’s First Requests for Admissions to Plaintiff.

WHEREFORE PREMISES CONSIDERED, Defendant respectfully prays that the
Court and all parties take notice of the above and foregoing Certificate, and service of the above-
referenced discovery requests, and that the Defendant such other and further relief, general or

special, legal or equitable, to which Defendant may be justly entitled.

14475-509/CMUN/1560779
Case 3:20-cv-00321-DCG Document 1-4 Filed 12/29/20 Page 24 of 24

By:

Respectfully submitted,

MOUNCE, GREEN, MYERS,
SAFI, PAXSON & GALATZAN
A Professional Corporation

P. O. Box 1977

El Paso, Texas 79999-1977
Phone: (915) 532-2000

Telefax: (915) 541-1597

enriquezi@mgmsg.com

_/s/ Laura Enviguez
Laura Enriquez
State Bar No. 00795790

Attorneys for Defendant WAL-MART
STORES TEXAS, LLC

CERTIFICATE OF SERVICE

In compliance with Texas Rule of Civil Procedure 21a (e), I certify that on this 6th day of
November 2020 a true and correct copy of the foregoing document filed electronically with the
clerk of the court in accordance with Texas Rule of Civil Procedure 21 (f)(1), and served

electronically to the following counsel of record:

Peter Rutter

The Cain Law Firm P.C.
111 S. Houston Street
Granbury Texas 76048
pete@cainfirm.com
eservice(@cainfirm.com

14475-509/CMUN/1560779

__/s/ Laura Enriquez
Laura Enriquez
